 Case 1:18-cv-00950-LO-JFA Document 210 Filed 07/08/19 Page 1 of 2 PageID# 5524



                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                          Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.



                                     NOTICE OF SEALED FILINGS

            Pursuant to Rule 26 of the Federal Rules of Civil Procedure, and E.D.Va. Local Civil Rule

     5(C), Plaintiffs have filed under seal certain portions of the following materials accompanying

     their Memorandum in Opposition to Defendants’ Motion to Compel (ECF No. 206, the

     “Opposition”), as well as citations thereto contained in Plaintiffs’ Opposition.

            (1) Declaration of Kerry M. Mustico on behalf of the Plaintiffs in Opposition to
                Defendants’ Motion to Compel

            (2) Excerpt of the June 18, 2019 Deposition Transcript of Mr. Anish Patel (Mustico Ex. 2)

            (3) Declaration of Anish Patel on behalf of the SATV/EMI Plaintiffs in Opposition to
                Defendants’ Motion to Compel

            (4) Declaration of David Jacoby on behalf of the Sony Music Plaintiffs in Opposition to
                Defendants’ Motion to Compel

            (5) Declaration of Chiara Genovese on behalf of the UMG Plaintiffs in Opposition to
                Defendants’ Motion to Compel

            (6) Declaration of Julie Chen-Burton on behalf of the UMPG Plaintiffs in Opposition to
                Defendants’ Motion to Compel
 Case 1:18-cv-00950-LO-JFA Document 210 Filed 07/08/19 Page 2 of 2 PageID# 5525



         (7) Declaration of Melissa Battino on behalf of the Warner Music Plaintiffs in Opposition
             to Defendants’ Motion to Compel

         (8) Declaration of Jeremy Blietz on behalf of the Warner/Chappell Plaintiffs in Opposition
             to Defendants’ Motion to Compel




         NOTICE OF RIGHT TO RESPOND: Pursuant to Local Civil Rule 5(C), parties and

  nonparties may submit memoranda in support of or in opposition to the motion within seven (7)

  days after the filing of the motion to seal, and that they may designate all or part of such

  memoranda as confidential.



                                                               Respectfully Submitted,

Dated July 8, 2019                                             /s/ Scott A. Zebrak
                                                               Scott A. Zebrak (38729)
                                                               Matthew J. Oppenheim (pro hac vice)
                                                               Jeffrey M. Gould (pro hac vice)
                                                               Kerry Mustico (pro hac vice)
                                                               OPPENHEIM + ZEBRAK, LLP
                                                               4530 Wisconsin Avenue, NW, 5th Floor
                                                               Washington, DC 20015
                                                               Tel: 202-480-2999
                                                               scott@oandzlaw.com
                                                               matt@oandzlaw.com
                                                               jeff@oandzlaw.com
                                                               kerry@oandzlaw.com

                                                               Attorneys for Plaintiffs




                                                     2
